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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF OREGON
                                    MEDFORD DIVISION


DENARE MORGAN,                                                          Case No. 12-cv-02182

                     Plaintiff,                   COMPLAINT FOR VIOLATIONS OF
                                                  THE FAIR DEBT COLLECTION
              v.                                  PRACTICES ACT AND THE OREGON
                                                  UNLAWFUL DEBT COLLECTION
WILLIAMS, RUSH & ASSOCIATES LLC,                  PRACTICES ACT
a Texas limited liability company.                JURY TRIAL DEMANDED
                     Defendant.                   15 U.S.C. § 1692 et seq.
                                                  ORS 646.639 et seq.

                                            1.

      Denare Morgan (“plaintiff”) alleges that at all times material:

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                                                  2.

                            JURISDICTION AND THE PARTIES

        This is a civil action brought under the Fair Debt Collection Practices Act (“FDCPA”),

15 U.S.C. § 1692 et seq. and the Oregon Unlawful Debt Collection Practices Act (“OUDCPA”),

ORS 646.639 et seq.

                                                  3.

        This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1332 and 1367 because the

FDCPA is federal law, the state law claims are so related to the FDCPA claims that they form

part of the same case and controversy, and because true diversity exists and the amount in

controversy requirement is met.

                                                  4.

        Venue is proper in this district because the majority of the acts and transactions occurred

here, plaintiff resides here, and Williams, Rush & Associates LLC (“defendant”) collects debts

here.

                                                  5.

        Plaintiff resided in Klamath County, Oregon during all times material and is a “person”

and a “consumer” as defined by the OUDCPA at ORS 646.639(1)(h) and (a).

                                                  6.

        Plaintiff is also a “consumer” as defined by the FDCPA at 15 U.S.C. § 1692a(3).

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                                                7.

       Defendant operates a debt collection business in various states, including Oregon, and is

a “person” as defined by the OUDCPA at ORS 646.639(1)(h).

                                                8.

       Defendant regularly collects consumer loan debts of others and is a “debt collector” as

defined by the OUDCPA at ORS 646.639(1)(g) and the FDCPA at 15 U.S.C. § 1692a(6).

                                                9.

       Defendant attempts to collect plaintiff’s alleged obligation to Communitywide Federal

Credit Union, constituting a “debt” as defined by the OUDCPA at ORS 646.639(1)(e).

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                                                  10.

                                      FACTUAL ALLEGATIONS

       In or around October 2007 plaintiff took out a loan from Communitywide Federal Credit

Union for personal use.

                                                  11.

       Plaintiff was unable to make the current payments on the loan.

                                                  12.

       As a result, she began receiving collection calls from defendant.

                                                  13.

       Plaintiff retained an attorney to represent her with regard to her debts.

                                                  14.

       Throughout 2012 defendant has called plaintiff in an attempt to collect a debt.

                                                  15.

       Despite plaintiff’s attempts to refer defendant to her attorney, defendant persisted in

directly collecting from plaintiff.

                                                  16.

       As recently as July 2012 plaintiff attempted to refer defendant to her attorney and asked

defendant to stop calling her.

                                                  17.

       In or around November 2012 defendant called plaintiff to collect debt.

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                                                  18.

       During the phone call, defendant threatened it would immediately interfere with

plaintiff’s nursing license by contacting the state board of nursing.

                                                  19.

       Defendant threatened it would interfere with plaintiff’s ability to find employment.

                                                  20.

       Defendant threatened that it would immediately file a lawsuit against plaintiff in the

Klamath County Courthouse.

                                                  21.

       Upon information and belief, defendant had no intention to immediately interfere with

plaintiff’s nursing license by contacting the state board of nursing.

                                                  22.

       Upon information and belief, defendant had no intention of interfering with plaintiff’s

ability to find employment.

                                                  23.

       Upon information and belief, defendant had no intention of immediately filing a lawsuit

against plaintiff in the Klamath County Courthouse.

                                                  24.

       In fact, defendant could not legally interfere with plaintiff’s nursing license by contacting

the state board of nursing.

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                                                    25.

         As a direct and proximate result of defendant’s malicious and unlawful debt collection

and harassment, plaintiff suffers severe ongoing anxiety of unknown future threats, fear of

having no home or job, depression and other negative emotions to be proved at trial.

                                                    26.

         As a direct and proximate result of defendant’s malicious and unlawful debt collection

and harassment, plaintiff suffers actual damages in the form of time spent and attorneys fees and

costs.

                                                    27.

         Plaintiff is entitled to and so demands a trial by jury.

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                                                 28.

                                     CAUSES OF ACTION

                                 FIRST CLAIM FOR RELIEF

                                           (OUDCPA)

                                         (ORS 646.641)

                                                 29.

       Plaintiff re-alleges the above by reference.

                                                 30.

       Defendant injured plaintiff through its willful and malicious use of unlawful collection

practices as detailed above, violating the OUDCPA, specifically ORS 646.639(2)(c), (d), (e), (k),

and (L).

                                                 31.

       As a result of defendant’s willful and malicious use of unlawful collection practices,

plaintiff is entitled to the greater of actual damages or $200, punitive damages, reasonable

attorneys fees and costs, injunctive relief and declaratory relief pursuant to ORS 646.641.

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                                                    32.

                                  SECOND CLAIM FOR RELIEF

                                               (FDCPA)

                                          (15 U.S.C. § 1692k)

                                                    33.

         Plaintiff re-alleges the above by reference.

                                                    34.

         Defendant injured plaintiff through its willful unlawful collection practices as detailed

above, violating the FDCPA, specifically 15 U.S.C. § 1692c, d, e, and f.

                                                    35.

         As a result of defendant’s unlawful collection practices, plaintiff is entitled to the greater

of actual damages or $1,000 and reasonable attorneys fees and costs pursuant to 15 U.S.C. §

1692k.

                                                    36.

         Plaintiff is entitled to and so demands a trial by jury.

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      WHEREFORE, plaintiff seeks judgment against defendant as follows:

   a. An order enjoining defendant from further harassing plaintiff;

   b. An award of actual damages, statutory damages, punitive damages, and reimbursement of

      plaintiff’s reasonable attorneys fees and costs; and

   c. For other such relief as this Honorable Court deems just and proper.


DATED: December 1, 2012
                                                    s/ Michael Fuller
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